                          Case 5:15-cv-02294-FMO-JEM Document 12 Filed 11/30/15 Page 1 of 4 Page ID #:74



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                                  6
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                                  7   RECEIVABLES PERFORMANCE MANAGEMENT, LLC
                                  8
                                                             UNITED STATES DISTRICT COURT
                                  9
                                                           CENTRAL DISTRICT OF CALIFORNIA
                                 10
                                 11
                                      REGINA SANCHEZ, individually and on                CASE NO. 5:15-cv-01759 FMO
2211 Michelson Drive Suite 400




                                 12   behalf of all others similarly situated,           (JEMx)
     Gordon & Rees LLP




                                 13                              Plaintiff,              CASE NO. 5:15-cv-02294 FMO
      Irvine, CA 92612




                                                                                         (DTBx)
                                 14          vs.
                                 15   RECEIVABLES PERFORMANCE
                                      MANAGEMENT, LLC,                                   STIPULATION TO
                                 16                                                      CONSOLIDATE CASES
                                                                 Defendant.              (FRCP 42(a)(2)) AND
                                 17                                                      TRANSFER VENUE (28 U.S.C.
                                                                                         § 1404)
                                 18
                                                                                         [Proposed] Order Filed
                                 19                                                      Concurrently herewith
                                 20                                                      Complaint filed: August 28, 2015
                                 21
                                 22
                                 23   ///
                                 24   ///
                                 25   ///
                                 26   ///
                                 27   ///
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                                        STIPULATION TO CONSOLIDATE CASES (FRCP 42(a)(2)) AND TRANSFER VENUE (28 U.S.C. § 1404)
                          Case 5:15-cv-02294-FMO-JEM Document 12 Filed 11/30/15 Page 2 of 4 Page ID #:75



                                  1             Plaintiff Regina Sanchez (“Plaintiff”), on her own behalf and on behalf of
                                  2   the class of purportedly similarly situated persons, and Defendant Receivables
                                  3   Performance Management, LLC (“Defendant”), by and through their respective
                                  4   counsel (collectively, the “Parties”), enter into this stipulation to consolidate the
                                  5   above-captioned action with United States District Court Case No. 5:15-cv-02294-
                                  6   FMO (DTBx), , and to transfer the consolidated action to the United States District
                                  7   Court for the Central District of California, Eastern Division.
                                  8   STIPULATION TO CONSOLIDATE ACTIONS AND TRANSFER VENUE
                                  9   I.        RECITALS
                                 10             WHEREAS, Plaintiff filed a Complaint against Defendant on August 28,
                                 11   2015 in the Central District of California (Regina Sanchez v. Receivables
2211 Michelson Drive Suite 400




                                 12   Performance Management, Case No. 5:15-cv-01759-FMO (JEMx)), pending
     Gordon & Rees LLP




                                 13   before United States District Judge Fernando M. Olguin;
      Irvine, CA 92612




                                 14             WHEREAS, Plaintiff filed a Complaint against Defendant on August 31,
                                 15   2015 in the San Bernardino Superior Court (Regina Sanchez v. Receivables
                                 16   Performance Management, LLC, Case No. CIVDS1512500)(“State Court
                                 17   Action”);
                                 18             WHEREAS, on November 6, 2015, Defendant filed a Notice of Removal of
                                 19   the State Court Action pursuant to 28 U.S.C. §§ 1441, and 1446, based on federal
                                 20   question jurisdiction;
                                 21             WHEREAS, the State Court Action is now Regina Sanchez v. Receivables
                                 22   Performance Management, Case No. 5:15-cv-02294-FMO (DTBx).
                                 23             WHEREAS, Defendant filed a Notice of Related Cases on November 16,
                                 24   2015 in Case No. 5:15-cv-02294-FMO (DTBx);
                                 25             WHEREAS, on November 16, 2015, United States District Judge Fernando
                                 26   M. Olguin consented to the transfer of Case No. 5:15-cv-02294-FMO (DTBx) to
                                 27   his calendar, pursuant to General Order 14-03;
                                 28             WHEREAS, both actions involve the same Plaintiff and Defendant and arise
                                                                             -2-
                                           STIPULATION TO CONSOLIDATE CASES (FRCP 42(a)(2)) AND TRANSFER VENUE (28 U.S.C. § 1404)
                          Case 5:15-cv-02294-FMO-JEM Document 12 Filed 11/30/15 Page 3 of 4 Page ID #:76



                                  1   from the same nucleus of operative facts and call for determination of substantially
                                  2   related or similar questions of law and fact, and are likely to require substantial
                                  3   duplication of judicial resources if they proceed as separate actions;
                                  4          WHEREAS, based on the similar procedural stages of each case and the
                                  5   facts presently known to the Parties, and to conserve time, money and judicial
                                  6   resources, the Parties agree that both cases should be consolidated;
                                  7          WHEREAS, in an attempt to avoid unnecessarily burdening the Court with a
                                  8   motion for consolidation, the Parties hereby agree to consolidate the above-
                                  9   captioned case with Regina Sanchez v. Receivables Performance Management,
                                 10   Case No. 5:15-cv-02294-FMO (DTBx)(hereinafter, “Consolidated Action”),
                                 11   pursuant to Federal Rule of Civil Procedure 42(a)(2).
2211 Michelson Drive Suite 400




                                 12          WHEREAS, Plaintiff resides in San Bernardino, California;
     Gordon & Rees LLP




                                 13          WHEREAS, for the convenience of parties and witnesses, and in the interest
      Irvine, CA 92612




                                 14   of justice, the Parties seek the transfer of the Consolidated Action to the United
                                 15   States District Court for the Central District of California, Eastern Division. 28
                                 16   U.S.C. §1404;
                                 17          WHEREAS, transfer of the Consolidated Action is proper because the
                                 18   Eastern Division is a “division where it might have been brought.” 28 U.S.C. §
                                 19   1404(a);
                                 20          WHEREAS, venue is proper in the Eastern Division because the State Court
                                 21   Action was filed in the Superior Court of the State of California for the County of
                                 22   San Bernardino, which is located within the Eastern Division of the United States
                                 23   District Court for the Central District of California; and
                                 24          WHEREAS, transfer of this action will serve the convenience of the Parties
                                 25   and witnesses, and is in the interest of justice because it can be more inexpensively
                                 26   and expeditiously resolved in the same forum as Plaintiff resides.
                                 27   II.    TERMS OF STIPULATION.
                                 28          Based on the foregoing, and in the interest of justice and conserving time,
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                                        STIPULATION TO CONSOLIDATE CASES (FRCP 42(a)(2)) AND TRANSFER VENUE (28 U.S.C. § 1404)
                            Case 5:15-cv-02294-FMO-JEM Document 12 Filed 11/30/15 Page 4 of 4 Page ID #:77



                                    1   money, and judicial resources, and to serve the convenience of the parties and
                                    2   witnesses, the Parties hereby stipulate to the terms set forth below:
                                    3                1.     Regina Sanchez v. Receivables Performance Management
                                    4   (Case No. 5:15-cv-01759-FMO (JEMx)) shall be consolidated with Regina
                                    5   Sanchez v. Receivables Performance Management (Case No. 5:15-cv-02294-FMO
                                    6   (DTBx)(Collectively, “Consolidated Action”);
                                    7                2.     The Consolidated Action shall be transferred to the Eastern
                                    8   Division of the United States District Court for the Central District of California.
                                    9
                                   10   Dated: November 30, 2015                     GORDON & REES LLP
                                   11
  2211 Michelson Drive Suite 400




                                   12                                                By:    s/Sean P. Flynn
                                                                                           Sean P. Flynn
       Gordon & Rees LLP




                                   13                                                      Evan M. Rothman
        Irvine, CA 92612




                                                                                           Attorneys for Defendant
                                   14                                                      Receivables Performance
                                                                                           Management, LLC
                                   15
                                   16
                                        Dated: November 30, 2015                     LAW OFFICES OF TODD M.
                                   17                                                FRIEDMAN, P.C
                                   18
                                   19                                                By: s/Todd M. Friedman_______
                                                                                         Todd M. Friedman
                                   20                                                    Attorney for Plaintiff
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                                         STIPULATION TO CONSOLIDATE CASES (FRCP 42(a)(2)) AND TRANSFER VENUE (28 U.S.C. § 1404)
